   Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 1 of 8 PAGEID #: 1



                                UNITED STATES DISTRICT COURT
                                  SOUTHER DISTRICT OF OHIO

                                                    :
SAMSON JACKSON # A789948                            :       CASE NO. 1:22-cv-232
15708 McConnelsville Road                           :
Caldwell, OH 43724                                  :       JUDGE __________________________
                                                    :
and                                                 :
                                                    :
                                                    :
         vs.                                        :       COMPLAINT FOR PERSONAL
                                                    :       INJURY
DAVID DOZIER, in his                                :
official and individual capacity                    :
310 Ezzard Charles Dr.                              :
Cincinnati, OH 45214 :                              :       (With Praecipe for Service)
                                                    :
and                                                 :
                                                    :
CITY OF CINCINNATI                                  :
POLICE DEPARTMENT                                   :
310 Ezzard Charles Dr.                              :
Cincinnati, OH 45214 :
                                                    :
and                                                 :
                                                    :
CITY OF CINCINNATI                                  :
801 Plum St.                                        :
Cincinnati, OH 45202 :
                     Defendants.                    :

    Come the Plaintiff Samson Jackson, by and through counsel, and for their Complaint for as
follows:
                                 STATEMENT OF CLAIMS

      1. Plaintiff seeks money damages and equitable relief from Defendants for violating his
         constitutional rights, and injunctive relief to prevent injury to himself in the future. He
         also brings supplemental claims for violations of Ohio state law.

      2. Plaintiff was the victim of excessive force by Defendant David Dozier in violation of his
         the Fourth Amendment to the U.S. Constitution and Ohio state tort laws.



                                           JURISDICTION
Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 2 of 8 PAGEID #: 2




3. This Court has jurisdiction over the claims in this Complaint pursuant to 28 U.S.C. §
   1331 (federal question), 28 U.S.C. § 1334 (civil rights), 42U.S.C. § 1981, 1983, and
   1988.

4. This Court has supplemental jurisdiction over the pendant state law claims purusant to 28
   U.S.C. § 1367.

5. This action arises under the United States Constitution as applied to State and local
   authorities under 42U.S.C. § 1983.

                                         VENUE

6. Venue is proper in this district based on 28 U.S.C. § 1391(b), as Defendants are residents
   of this district and the acts or occurrences giving rise to these claims occurred in this
   district.

                                      PARTIES
7. Plaintiff Samson Jackson resided in Cincinnati, Ohio at the time of the incidents
   described in this Complaint.

8. Defendants are all, upon information and belief, Ohio Municipal entities and/or
   individual members of law enforcement agencies, in an appointed or elected capacity.

9. Defendant City of Cincinnati operates the Cincinnati Police Department (CPD), a law
   enforcement agency, and is a municipality capable of being sued under Ohio law. The
   city is the legal entity responsible for CPD. Plaintiff bases all applicable and appropriate
   claims as to Defendant City of Cincinnati and WPD on the doctrines of respondeat
   superior or vicarious liability, and municipal liability.

10. Defendant David Dozier was, at all times relevant, an officer in the CPD. He is sued in
    his personal, official, and individual capacities.

11. Defendant Dozier was, at all times relevant to this Complaint, working as an on duty
    licensed Ohio peace officer acting under color of state law and within the scope and
    course of his official duties and employment as officer.
Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 3 of 8 PAGEID #: 3



                                          FACTS

12. On or about April 29, 2020 Plaintiff Samson Jackson was arrested in his home on an
    outstanding warrant by the City of Cincinnati Police.

13. At about the same time and place, Defendant Officer David Dozier was tasked with
    transporting Plaintiff to the Hamilton County Justice Center.

14. Defendant Dozier placed Plaintiff in the back seat of his police cruiser, with Plaintiff’s
    hands cuffed behind his back and a lap restraint bar over Plaintiff’s thighs.

15. Prior to leaving, Defendant Dozier pointed his Taser at Plaintiff, while restrained, and
    told Plaintiff that he “light [him] up”.

16. During transport, Plaintiff became no longer restrained by the lap bar and Defendant
    Dozier pulled his vehicle off the road and stopped.

17. Defendant Dozier then exited his vehicle, opened Plaintiff’s door, drew his Taser, and
    fired at Plaintiff, hitting him.

18. As a result of Defendant Dozier’s actions, Plaintiff was electrocuted for approximately 5
    seconds, with his hands still cuffed while being contained in the back of Defendant’s
    vehicle.

19. Defendant Dozier then instructed Plaintiff to put his hands behind his back, while still
    cuffed in the front.

20. Plaintiff advised Defendant that he was physically unable to do so.

21. Defendant Dozier then depressed the trigger on his Taser, activating the weapon again.

22. This time, Defendant Dozier kept the trigger depressed, which kept the weapon active for
    approximately 15 seconds.

23. Plaintiff was handcuffed in the back of Defendant’s vehicle the entire time.

24. Defendant Dozier was subjected to an administrative review by CPD and the City of
    Cincinnati where he was suspended for 24 hours as a result of his actions on 4-29-2020.

25. As a direct and proximate result of Defendant Dozier’s actions, Plaintiff’s was subjected
  Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 4 of 8 PAGEID #: 4



       to excessive force.

   26. As a direct and proximate result of Defendant Dozier’s actions, Plaintiff’s civil rights
       were violated.

   27. As a direct and proximate result of the negligence of Defendant Dozier, Plaintiff has
       suffered injury to his body.

   28. As a direct and proximate result of the negligence of Defendant Dozier, Plaintiff has
       experienced pain and suffering, anxiety, loss of enjoyment of life, lost wages, and earning
       capacity, and other damages, all of which may continue into the future.

                                      FIRST CLAIM
                   42U.S.C. § 1983 (Fourth Amendment- Excessive Force)
                                  Defendant David Dozier

   29. All previous paragraphs are incorporated herein by reference as though fully set forth.

   30. Plaintiff makes a claim under 42U.S.C. § 1983 for violation of the Fourth Amendment of
       the U.S. Constitution.

   31. The Fourth Amendment does not permit Defendants to use excessive force.

   32. Officer Dozier’s use of force against Plaintiff was not reasonable under the
       circumstances, and was excessive.

       WHEREFORE, Plaintiff Samson Jackson demands judgment against Defendant Officer
Dozier in excess of $250,000.00, plus interest, costs and such other relief as this court deems
appropriate.

                                    SECOND CLAIM
                                     42U.S.C. § 1983
              Defendant City of Cincinnati and Cincinnati Police Department

   33. Plaintiffs adopt all of the foregoing allegations as if fully restated herein.

   34. Municipal bodies are liable for constitutional violations under 42U.S.C. § 1983 when
       execution of its official policy or custom deprives an individual of its rights protected
       under the Constitution.
  Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 5 of 8 PAGEID #: 5



   35. Such municipal liability exists where a city fails to properly train, supervise, and
       discipline its employees amounting in a deliberate indifference to one’s constitutional
       rights. Wellington v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983).

   36. At all times relevant, Defendant City of Cincinnati and the CPD had a duty to properly
       train, supervise, and discipline their employees and agents.

   37. Defendants breached that duty, in part, by:

           a.        Improperly training, authorizing, encouraging or directing officers on the
              proper use of force.
           b.        Failing to investigate allegations of excessive force.
           c.        Failing to discipline officers for violations of policy related to excessive
              force.

   38. This unconstitutional behavior of officers is carried out pursuant to a policy, pattern of
       practice, custom, whether formal or informal, violates the constitutional rights of persons
       situated such as the Plaintiff

   39. Defendants City of Cincinnati and CPD failed to take sufficient remedial actions to end
       this policy, pattern of practice, or custom within the CPD.

   40. The condoning of misconduct, and this failure to end this policy, pattern of practice, or
       custom was a proximate cause to the injuries suffered by Plaintiff.

       WHEREFORE, Plaintiff Samson Jackson demands judgment against Defendants City of
Cincinnati and CPD in excess of $250,000.00, plus interest, costs and such other relief as this
court deems appropriate.

                                     THIRD CLAIM
            Intentional Torts: Assault, Battery, Infliction of Emotional Distress
                                    Defendant Dozier

   41. Plaintiffs adopt all of the foregoing allegations as if fully restated herein.

   42. Defendant Dozier was/is an employee, deputy, and/or agent of a municipality.

   43. Defendant Dozier’s actions, alleged above, were conducted within the scope of his
       employment or duties
  Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 6 of 8 PAGEID #: 6



   44. The actions of Defendant Dozier were willful, malicious, and in violation of the known
       rights to Plaintiff.

   45. On April 29, 2020 Defendant Dozier committed assault and battery upon Plaintiff when
       he intentionally drew and pointed his Taser at Plaintiff and threatened to deploy it.

   46. On April 29, 2020 Defendant Dozier committed assault and battery upon Plaintiff when
       he intentionally drew and pointed his Taser at Plaintiff and inflicted bodily harm by
       subsequently firing the Taser, hitting plaintiff, and electrocuting him for approximately 5
       seconds.

   47. On April 29, 2020 Defendant Dozier committed assault and battery upon Plaintiff a
       second time when he intentionally depressed and held the trigger on his Taser, while still
       attached to Plainitff, and inflicted bodily harm by electrocuting him again for
       approximately 15 seconds.

   48. At all times relevant herein, Ken Neyer Plumbing was the owner of the vehicle being
       operated by Defendant Timothy Bowen. Defendant Ken Neyer Plumbing is liable for
       the negligent actions of Defendant Timothy Bowen, its employee and/or agent, under the
       Doctrine respondeat superior.

   49. Defendant’s conduct was intentional and done through the assertion of legal authority
       over Plainitff.

   50. Defendant’s conduct was extreme, outrageous conduct intentionally or recklessly caused
       severe emotional distress to Plaintiff.

       WHEREFORE, Plaintiff Samson Jackson demands judgment against Defendant Officer
Dozier in excess of $250,000.00, plus interest, costs and such other relief as this court deems
appropriate.

                                     FOURTH CLAIM
                  Negligence: Negligent Hiring, Retention, Supervision and
                          Negligent Infliction of Emotional Distress
                                City of Cincinnati and CPD

   51. Plaintiffs adopt all of the foregoing allegations as if fully restated herein.

   52. At all times relevant herein, Defendant Dozier was an employee, deputy, and/or agent of
       a municipality.
  Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 7 of 8 PAGEID #: 7



   53. Defendant Dozier’s actions, alleged above, were conducted within the scope of his
       employment or duties

   54. Defendants City of Cincinnati and CPD owed a duty of care to Plainitiff to exercise
       reasonable care in hiring, retaining, and supervising its employees.

   55. Defendants City of Cincinnati and CPD knew or should have known Defendant Dozier’s
       dangerous character based on prior complaints and/or background checks.

   56. Defendants City of Cincinnati and CPD breached their duty of care to Plainitiff by failing
       to properly supervise, provide training, and take remedial measures such as discharge or
       reassignment, against their employees to ensure safety of Plaintiff.

   57. Defendants City of Cincinnati and CPD failed to properly vet and supervise Defendant
       Dozier.

   58. As a result of Defendants City of Cincinnati and CPD negligent acts, Plaintiff reasonably
       feared for his life and safety and has suffered emotional distress.

   WHEREFORE, Plaintiff Samson Jackson demands judgment against Defendants City of
Cincinnati and CPD in excess of $250,000.00, plus interest, costs and such other relief as this
court deems appropriate.



                                    PRAYER FOR RELIEF
        WHEREFORE, Plaintiff Samson Jackson demands judgment against Defendants, and
grant the following:
   A. Enter judgment on behalf of Plaintiff against Defendants for resaonable actual damages
        sufficient to compensate him for the violation of his Fourth Amendment rights and rights
        under Ohio state law;

   B. Permanently enjoin and prohibit Defendants from interfering with Plainitiff’s
      constitutional rights. Specifically, to enjoin Defendants from retaliating against Plaintiff
      and subjecting him to future excessive force;

   C. Order Defendants to pay puntitive and other exemplary damages based on 42U.S.C. §
      1983 claims;

   D. Order Defendants to pay Plaintiff’s attoney’s fees and costs as authorized by 42U.S.C. §
      1988; pre-judgment interest and any other relief deemed necessary and proper.
  Case: 1:22-cv-00232-JPH-PBS Doc #: 1 Filed: 04/29/22 Page: 8 of 8 PAGEID #: 8




   E. Grant all other and additional relief to which Plaintiff may be entitled.




                                                 Respectfully submitted,


                                                 /s/ Matthew J. Hammer
                                                 Kyle B. McKenzie (0063477)
                                                 Matthew J. Hammer (0092483)
                                                 Attorneys for Plaintiff
                                                 McKenzie & Snyder LLP
                                                 229 Dayton Street
                                                 Hamilton, OH 45011
                                                 matt@mslaw.legal
                                                 (513) 737-5180 - office
                                                 (513) 737-5179 - fax




                                 PRAECIPE FOR SERVICE

TO THE CLERK:

        Kindly serve the Defendants at the addresses provided on the caption of this Complaint
by certified U.S. Mail, return receipt requested.


                                                 /s/ Matthew J. Hammer
                                                 Kyle B. McKenzie (0063477)
                                                 Matthew J. Hammer (0092483)
                                                 Attorneys for Plaintiff
